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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA

                     Plaintiff,                                 8:09CR382

       vs.
                                                                  ORDER
FELIX ALARCON,

                     Defendant.


       This matter came on for hearing on July 13, 2015, on Defendant’s request for release
to inpatient treatment at Stephen Center, Inc. – HERO Program.
       IT IS ORDERED as follows:
       The Defendant shall be released from custody on July 13, 2015, at 9:30 a.m. so that
he can be admitted that same day to Stephen Center, Inc., 2723 Q Street, Omaha, Nebraska.
       The Defendant shall be released from custody on the condition that he immediately
enter such program and remain in and follow all of the requirements of such program.
       The Defendant shall execute all necessary release forms to allow his Probation Officer
to communicate with the Defendant’s counselors and mental health therapists affiliated with
Stephen Center, Inc.
       The Defendant shall comply with all subsequent recommendations for any aftercare or
halfway house placements following completion of inpatient treatment.
       The Defendant shall comply with all previously ordered conditions of probation.
       Should the Defendant be discharged from the program for any reason, or otherwise
violate any condition or this order, or the previously set conditions of supervised release, then
a warrant shall issue for his arrest.
       IT IS SO ORDERED.
       Dated this 13th day of July, 2015.

                                                 BY THE COURT:
                                                 s/ Joseph F. Bataillon
                                                 Senior United States District Judge
